Case 1:08-cr-00067-RC-ESH         Document 47        Filed 08/14/08     Page 1 of 8 PageID #: 70




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
                                                 §
 VS.                                             §   CASE NO. 1:08-CR-67(2)
                                                 §
 KEVIN WAYNE HESTER                              §

          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        The District Court referred this matter to the undersigned United States Magistrate Judge

 for administration of a guilty plea and allocution under Rules 11 and 32 of the Federal Rules of

 Criminal Procedure. Magistrates have the statutory authority to conduct a felony guilty plea

 proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United States v. Bolivar-

 Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

        On August 12, 2008, this cause came before the undersigned United States Magistrate

 Judge for entry of a guilty plea by the Defendant, Kevin Wayne Hester, on Count 5 of the

 charging Indictment filed in this cause. Count 5 of the Indictment charges that in or about May

 of 2006, in Newton County, in the Eastern District of Texas, Defendants, Simply Aquatics, Inc.,

 Kevin Wayne Hester, and Lyle Hester knowingly disposed of and caused to be disposed of


                                               -1-
Case 1:08-cr-00067-RC-ESH           Document 47       Filed 08/14/08     Page 2 of 8 PageID #: 71




 hazardous waste at an unpermitted facility; to wit: in or about May of 2006, Defendants, Simply

 Aquatics, Inc., Kevin Wayne Hester and Lyle Hester buried and caused the burial of thirty-three

 compressed gas cylinders under high pressure which contained a combined total of 952 pounds

 of chlorine gas, a characteristically reactive hazardous waste, on the premises of Kevin Wayne

 Hester’s residential and ranching property, located at 921 County Road 3065, Kirbyville, Texas,

 and which is a facility that does not have a permit issued to RCRA, in violation of 42 U.S.C.

 § 6928(d)(2), and 18 U.S.C. § 2.

        Defendant, Kevin Wayne Hester, entered a plea of guilty to Count 5 of the Indictment

 into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a.      That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b.      That Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal.

        c.      That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not


                                                -2-
Case 1:08-cr-00067-RC-ESH           Document 47         Filed 08/14/08      Page 3 of 8 PageID #: 72




 result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

        d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crime charged under 42

 U.S.C. § 6928(d)(2) and 18 U.S.C. § 2.

                                   STATEMENT OF REASONS

        As factual support for Defendant’s guilty plea, the Government proffered evidence,

 which was admitted into the record at the plea hearing. See Factual Basis. If the case proceeded

 to trial, the Government and Defendant agreed and stipulated to the information set forth in the

 factual basis which would be used by the Government in support of the Defendant’s plea of

 guilty. Specifically, the Government and Defendant agreed that the Government would present

 the following stipulated facts if the case proceeded to trial:

        Investigation by the Environmental Protection Agency and the Texas Department of

 Environmental Quality disclosed the following facts. On or about April 21, 2003, Kevin Wayne

 Hester, incorporated Simply Aquatics, Inc., within the State of Texas.            In annual public

 information reports filed with the Texas Secretary of State's Office, Kevin Wayne Hester is listed

 as "President" of Simply Aquatics, Inc.

        At all times relevant to Count 5 of the indictment, Simply Aquatics, Inc., operated its

 business from at least two locations: 567 County Road 3065, Kirbyville, Newton County, Texas

 [herein referred to as "Office"], and 5867 County Road 3068, Kirbyville, Newton County, Texas

 [herein referred to as "Shop Facility"].


                                                  -3-
Case 1:08-cr-00067-RC-ESH          Document 47       Filed 08/14/08    Page 4 of 8 PageID #: 73




        At all times relevant to Count 5 of the indictment, Lyle Hester, Kevin Wayne Hester’s

 father, was employed by Simply Aquatics, Inc., as the Foreman of the Shop Facility.

        In or about May of 2006, Kevin Wayne Hester and Lyle Hester entered into an agreement

 with one another that numerous old compressed gas cylinders stored at the Shop Facility would

 be transported to Kevin Wayne Hester’s residential and ranching property, located at 921 County

 Road 3065, Kirbyville, Newton County, Texas [herein referred to as "Kevin Wayne Hester’s

 residential and ranching property"]. They further agreed that upon delivery to Kevin Wayne

 Hester’s residential and ranching property, the old compressed gas cylinders would be disposed

 of by burying them in a large hole.

        In or about May of 2006, Kevin Wayne Hester and Lyle Hester caused employees of

 Simply Aquatics, Inc., to dig a hole with dimensions of approximately 10 feet long by 10 feet

 wide and 10 feet deep, using a backhoe owned by Simply Aquatics, Inc., on Kevin Wayne

 Hester’s residential and ranching property. After the hole was dug, Lyle Hester caused an

 employee of Simply Aquatics, Inc., to load the numerous old compressed gas cylinders stored at

 the Shop Facility onto an Isuzu flatbed truck outfitted for compressed gas cylinder

 transportation, and to deliver the compressed gas cylinders to Kevin Wayne Hester’s residential

 and ranching property using the aforementioned truck. Upon arrival at Kevin Wayne Hester’s

 residential and ranching property Lyle Hester and other Simply Aquatic's employees working at

 Lyle Hester's direction "off-loaded" the old compressed gas cylinders from the truck by "tossing"

 them from the bed of the truck into the recently dug hole. After the old compressed gas

 cylinders were tossed into the hole, Lyle Hester and/or employees working at Lyle Hester's


                                               -4-
Case 1:08-cr-00067-RC-ESH         Document 47        Filed 08/14/08    Page 5 of 8 PageID #: 74




 direction again used the backhoe to cover the exposed compressed gas cylinders with dirt.

        On January 8, 2007, investigators interviewed Lyle Hester. During the interview, Lyle

 Hester confessed to causing the transportation to and disposal of old compressed gas cylinders at

 Kevin Wayne Hester's residential and ranching property in approximately May of 2006. Lyle

 Hester said that the decision to transport and bury the old compressed gas cylinders was made by

 himself [Lyle Hester] and Kevin Wayne Hester.         Hester said that the old compressed gas

 cylinders were not empty, but added that he did not remember any being full.

        On January 8, 2007, investigators interviewed Kevin Wayne Hester and confessed to

 causing the transportation to and disposal of old compressed gas cylinders at this [Kevin Wayne

 Hester’s] residential and ranching property in approximately May of 2006, Kevin Wayne Hester

 admitted that the idea to bury the old compressed gas cylinders was his, and that he involved his

 father, Lyle Hester, in the idea. Kevin Wayne Hester said that some of Simply Aquatics, Inc.’s

 part-time employees may have helped bury the cylinders.

        From January 9, 2007, through January 13, 2007, investigators executed search warrants

 at the Shop Facility and Kevin Wayne Hester’s residential and ranching property. At Kevin

 Wayne Hester's residential and ranching property, EPA investigators and contracted employees

 used ground penetrating radar to locate the compressed gas cylinder burial site. Excavation of

 the buried compressed gas cylinders began on January 10, 2007, and was completed on January

 13, 2007. In all, 113 compressed gas cylinders were located, safely excavated, and transported

 by SET to their Houston, Texas, Treatment, Storage and Disposal Facility (TSD). The final

 analyses of the aforementioned cylinders, which was completed by SET in December of 2007,


                                               -5-
Case 1:08-cr-00067-RC-ESH          Document 47        Filed 08/14/08     Page 6 of 8 PageID #: 75




 revealed that of the 113 cylinders, 33 were under high pressure and contained a combined total

 of 952 pounds of chlorine gas, a characteristically reactive hazardous waste.

        At all times relevant to this indictment, no permit under RCRA had been issued to

 Simply Aquatics, Inc., Kevin Wayne Hester or Lyle Hester allowing hazardous waste to be

 received, stored or disposed of at Kevin Wayne Hester’s residential and ranching property.

        In signing the factual basis and as stated on the record, Defendant Kevin Wayne Hester

 acknowledged that these acts constitute a violation of Title 42, United States Code, Section

 6928(d)(2)(A) (Disposal of Hazardous Waste Without a Permit). He stipulated that the facts

 described above are true and correct and accepts them as the uncontroverted facts of this case.

        Finally, Defendant, Kevin Wayne Hester, agreed with the facts set forth by the

 Government and signed the Factual Basis. Counsel for Defendant and the Government attested

 to Defendant’s competency and capability to enter an informed plea of guilty. The Defendant

 agreed with the evidence presented by the Government and personally testified that he was

 entering his guilty plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count 5 of the charging Indictment on file in this criminal

 proceeding. The Court also recommends that the District Court conditionally accept the plea




                                                -6-
Case 1:08-cr-00067-RC-ESH                    Document 47             Filed 08/14/08           Page 7 of 8 PageID #: 76




 agreement.1 Accordingly, it is further recommended that, Defendant, Kevin Wayne Hester, be

 finally adjudged as guilty of the charged offense under Title 42, United States Code, Section

 6928(d)(2)(A) and 18 U.S.C. § 2.

          Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject his plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

 presentence report because the sentencing guidelines are advisory in nature. The District Court

 may defer its decision to accept or reject the plea agreement until there has been an opportunity

 to consider the presentence report. See FED . R. CRIM . P. 11(c)(3). If the Court rejects the plea

 agreement, the Court will advise Defendant in open court that it is not bound by the plea

 agreement and Defendant may have the opportunity to withdraw his guilty plea, dependent upon

 the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3)(B). If the plea agreement is

 rejected and Defendant still persists in the guilty plea, the disposition of the case may be less



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            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” F ED . C RIM . P. 11(c)(3)-(5).

                                                              -7-
Case 1:08-cr-00067-RC-ESH          Document 47        Filed 08/14/08    Page 8 of 8 PageID #: 77




 favorable to Defendant than that contemplated by the plea agreement. Defendant has the right to

 allocute before the District Court before imposition of sentence.

                                          OBJECTIONS

        Within ten (10) days after receipt of this report, any party may serve and file written

 objections to the report and recommendation of the Magistrate Judge pursuant to 28 U.S.C. §

 636(b)(1)(C). Failure to file written objections to the proposed findings of facts, conclusions of

 law and recommendations contained within this report within ten (10) days after service shall bar

 an aggrieved party from de novo review by the District Judge of the proposed findings,

 conclusions and recommendations, and from appellate review of factual findings and legal

 conclusions accepted by the District Court except on grounds of plain error. Douglass v. United
    .
 Serv. Auto. Ass’n., 79 F.3d 1415 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1). The

 constitutional safeguards afforded by Congress and the courts require that, when a party takes

 advantage of his right to object to a magistrate’s findings or recommendation, a district judge

 must exercise its nondelegable authority by considering the actual evidence and not merely by

 reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

 Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir.

 1981) (per curiam).


                       SIGNED this the 14th day of August, 2008.




                                                          ____________________________________
                                                          KEITH F. GIBLIN
                                                -8-       UNITED STATES MAGISTRATE JUDGE
